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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA                                       :
                                                               :
                                                               :
                                                               :   MEMORANDUM & ORDER
                           -against-                           :
                                                               :   1:20-cr-390 (ENV)
JAVIER AGUILAR,                                                :
                                                               :
                                             Defendant.        :
-------------------------------------------------------------- x

VITALIANO, D.J.

        On February 23, 2024, following an eight-week trial, a jury returned a verdict convicting

defendant Javier Aguilar of one count of conspiracy to violate the Foreign Corrupt Practices Act

(“FCPA”), one count of violating the FCPA, and one count of conspiracy to commit money

laundering, in violation of 18 U.S.C. §§ 1956(a)(2)(A), 1956(a)(2)(B)(i). See Jury Verdict,

Dkt. 328.

        Presently before the Court is Aguilar’s motion for judgment of acquittal, pursuant to

Federal Rule of Criminal Procedure 29, or, in the alternative, for a new trial pursuant to Federal

Rule of Criminal Procedure 33. See Mot., Dkt. 354. For the reasons that follow, finding that he

is entitled neither to a judgment of acquittal nor a new trial, Aguilar’s motion is denied in its

entirety.

                                                  Background

        The Court presumes the parties’ familiarity with the substantive facts and procedural

history of this case, and they will not be needlessly repeated here. For ease of reference, however,

an index of the Court’s principal prior rulings and decisions follows: the Court’s Memorandum

and Order denying Aguilar’s motion to suppress statements made to federal agents at George Bush

Intercontinental Airport (“IAH”) can be found at Dkt. 106. See also United States v. Aguilar, No.
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20-cr-390, 2022 WL 3139100 (E.D.N.Y. Aug. 5, 2022). The Court’s memoranda and orders

denying Aguilar’s motions to dismiss can be found at Dkts. 140, 154 (see also United States v.

Aguilar, No. 20-cr-390, 2023 WL 3807383 (E.D.N.Y. May 31, 2023)), and 176. The Court’s pre-

trial evidentiary orders are located at Dkts. 155 (see also United States v. Aguilar, No. 20-cr-390,

2023 WL 3807731 (E.D.N.Y. June 2, 2023)), 202, 213, 226, 230, and 238.                  The Court’s

Memorandum Opinion expounding on its evidentiary ruling admitting evidence of Aguilar’s

kickbacks can be found at Dkt. 324. See also United States v. Aguilar, No. 20-cr-390, 2024 WL

759973 (E.D.N.Y. Feb. 22, 2024). The Court’s Memorandum and Order regarding Article 222(II)

of Mexico’s penal code is located at Dkt. 313. See also United States v. Aguilar, ––F. Supp. 3d–

–, 2024 WL 665947 (E.D.N.Y. Feb. 16, 2024).

                                           Legal Standard

       As required by Rule 29(a), a trial court “must enter a judgment of acquittal of any offense

for which the evidence is insufficient to sustain a conviction.” Fed. R. Crim. P. 29(a). The

pathway to Rule 29 relief, though, is leavened critically by the “heavy burden” the moving

defendant bears when challenging the sufficiency of the evidence. United States v. Hamilton, 334

F.3d 170, 179 (2d Cir. 2003). Indeed, a conviction must be upheld so long as, “after viewing the

evidence [and all permissible inferences] in the light most favorable to the prosecution, any rational

trier of fact could have found the essential elements of the crime beyond a reasonable doubt.”

Jackson v. Virginia, 443 U.S. 307, 319, 99 S. Ct. 2781, 61 L. Ed. 2d 560 (1979); see also United

States v. Parkes, 497 F.3d 220, 225 (2d Cir. 2007).

       Importantly, the rule does not alter in any way the standard given to the jury guiding their

review of the evidence. So, for example, circumstantial evidence alone can form the basis of the

jury’s verdict. United States v. Martinez, 54 F.3d 1040, 1043 (2d Cir. 1995). This principle leads



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to another stark reality: a defendant’s burden is even heavier in the case of a conspiracy conviction,

where “deference to a jury’s findings is especially important . . . because a conspiracy is by its

very nature a secretive operation, and it is a rare case where all aspects of a conspiracy can be laid

bare in court.” United States v. Snow, 462 F.3d 55, 68 (2d Cir. 2006) (quoting United States v.

Morgan, 385 F.3d 196, 204 (2d Cir. 2004)).

       A new trial motion is related to yet distinct from a motion for judgment of acquittal. Rule

33 gives a trial court the discretion “to vacate any judgment and grant a new trial if the interest of

justice so requires.” Fed. R. Crim. P. 33(a). In considering a motion for a new trial, “the court is

entitled to ‘weigh the evidence and in so doing evaluate for itself the credibility of the witnesses.’”

United States v. Robinson, 430 F.3d 537, 543 (2d Cir. 2005) (quoting United States v. Sanchez,

969 F.2d 1409, 1413 (2d Cir. 1992)). The trial court may not, however, wholly usurp the jury’s

role, and it is only “where exceptional circumstances can be demonstrated that the trial judge may

intrude upon the jury function of credibility assessment.” United States v. Autuori, 212 F.3d 105,

120 (2d Cir. 2000) (internal quotations omitted); Robinson, 430 F.3d at 543. At bottom, “[t]he

ultimate test on a Rule 33 motion is whether letting a guilty verdict stand would be a manifest

injustice.” United States v. Ferguson, 246 F.3d 129, 134 (2d Cir. 2001). Put differently, “to grant

a new trial pursuant to Rule 33, ‘[t]here must be a real concern that an innocent person may have

been convicted.’” United States v. McPartland, 81 F.4th 101, 123 (2d Cir. 2023) (quoting

Ferguson, 246 F.3d at 134). As follows logically, courts are to “exercise Rule 33 authority

‘sparingly’ and in ‘the most extraordinary of circumstances.’” Sanchez, 969 F.2d at 1414.




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                                             Discussion

          I.   Motion for Acquittal

       In the first of an assortment of claimed evidentiary insufficiencies, Aguilar contends that,

upon the evidence the government produced at trial, no rational trier of fact could, as charged in

Count Three, 1 conclude that he conspired to launder money in order to promote the specified

unlawful activity of violating the FCPA in connection with the charged Mexico scheme. Def.’s

Mem., Dkt. 354-1, at 64–71 2; Def.’s Reply, Dkt. 360, at 25–31. In this regard, Aguilar takes aim

at the proof offered by the government to establish the status of Gonzalo Guzman or Carlos

Espinosa under the FCPA’s definition of “foreign official,” either resulting from their employment

by PEMEX Procurement International (“PPI”), or as a result of direct actions either of them may

have taken on behalf of PEMEX. Def.’s Mem. at 65–71. Fundamental to an examination of this

defense claim, it must be kept in mind that, so long as the evidence was sufficient for a jury to

convict Aguilar on either one of the theories, acquittal notwithstanding the verdict is beyond the

reach of Rule 29. See United States v. Masotto, 73 F.3d 1233, 1241 (2d Cir. 1996) (“When the

jury is properly instructed on two alternative theories of liability, as here, we must affirm when the

evidence is sufficient under either of the theories.”).

       This inquiry is keyed to the FCPA’s use of the term “instrumentality,” which,

definitionally, provides one available hook by which to satisfy “foreign official” status. 15 U.S.C.

§ 78dd-2(h)(2)(A). But first, to tamp down potential confusion, a prefatory note about a separate

and independent finding by the Court is in order. The Court’s conclusion as to whether Guzman



1
  References to the counts in the Indictment are made with regard to the Redacted Indictment. See
Redacted Indictment, Dkt. 244.
2
  Unless otherwise noted, page citations to the parties’ briefing and the Court’s prior orders are
with reference to ECF pagination, except for transcript citations, which reference the internal line
numbering and pagination of the transcript.
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and Espinosa are “public servants” for purposes of Article 222(II) of Mexico’s penal code, see

Mexican Law Order, Dkt. 313, does not foreclose a jury from concluding that PPI is an

instrumentality of Mexico and therefore Espinosa and Guzman were “foreign officials” for FCPA

purposes. The inquiries are separate.

        Although “instrumentality” is not defined by the statute, all agree that the five non-

exhaustive factors outlined in United States v. Esquenazi, 752 F.3d 912, 925–26 (11th Cir. 2014)

are to be considered by a jury when determining instrumentality status. 3 Aguilar contends that,

balancing these factors, no rational juror could conclude that PPI met the test. Def.’s Mem. at 65–

66.

        Notwithstanding Aguilar’s argument that the Court’s conclusion regarding Mexican law is

dispositive of the FCPA instrumentality inquiry, it is undisputed that Mexico’s formal designation

of PPI is merely one Esquenazi factor to be weighed by a jury in determining instrumentality status.

Compare Def.’s Mem. at 65, with Gov’t Opp’n, Dkt. 357, at 19–20; see also Esquenazi, 752 F.3d

at 925–26. At any rate, on this factor and the others, the government adduced sufficient evidence

permitting a reasonable jury to conclude that PPI is an instrumentality, and therefore Guzman and

Espinosa are “foreign officials” within the meaning of the FCPA.                To start, the evidence

established that, although PPI is designated as an “affiliate” entity under Mexican law, it is a

wholly-owned affiliate of PEMEX, itself indisputably a state-owned entity. Accordingly, in the

face of that designation, coupled with testimony of Guzman and Espinosa of the close relationship

between PPI and PEMEX, a jury could certainly conclude that “affiliate” designation weighs in



3
   Those factors include: (1) “the foreign government’s formal designation of th[e] entity”; (2)
“whether the government has a majority interest in the entity”; (3) “the government’s ability to
hire and fire the entity’s principals”; (4) “the extent to which the entity’s profits, if any, go directly
into the governmental fisc, and, by the same token, the extent to which the government funds the
entity if it fails to break even,” and (5) “the length of time these indicia have existed.” Id. at 925.
                                                    5
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favor of instrumentality status. See Tr. at 2664:13–17 (“[PPI] is part of the Dirección Operativa

de Procura Abastecimiento [(“DOPA”)], which is the domestic buying department for PEMEX.”);

id. at 2667:16–19 (“[E]verything that [] is done in Pemex Procurement International is reported

back to . . . the DOPA department in PEMEX. So, they would kind of be the bosses of – our office

here in Houston.”).

       Similarly, with respect to whether the Mexican government has a majority interest in the

entity, the jury likewise could well have concluded that PEMEX, a state-owned entity, which in

turn wholly owns PPI, favors instrumentality status under the FCPA. 4 Espinosa testified that PPI

was part of the “domestic buying department for PEMEX,” id. at 2664:13–17, and both Guzman

and Espinosa testified that PPI operates, in part, out of PEMEX offices in Mexico City (in addition

to its headquarters in Houston). Id. at 2958:4–13 (Guzman); id. at 2939:12–21 (Espinosa).

       Evidence supporting the jury’s verdict on this issue did not end there. With respect to the

Mexican government’s ability to hire and fire PPI principals, Espinosa testified that PPI’s board

of directors is comprised of “high position executives [] in PEMEX . . . [l]ike the director of

PEMEX Exploración, PEMEX Refinanción, PEMEX Etileno.” Id. at 2666:17–23. Additionally,

Espinosa testified that where the Mexican administration changes, so too did the PPI board

structure. Id. at 2667:2–6. As for non-board members of PPI, Espinosa testified that PEMEX has

the ability to hire and fire those employees. Id. at 2668:1–4.



4
   Contrary to Aguilar’s contention, see Def.’s Mem. at 67, Def.’s Reply at 26, the Court’s note in
its previous Order, see Mexican Law Order at 5–6, that PEMEX’s 100% ownership of PPI did not
render PPI a majority state-owned entity under Mexico’s penal code, and its citation to Del Castillo
v. PMI Holdings N. Am. Inc., No. 4:14-CV-03435, 2016 WL 3745953, at *10 (S.D. Tex. July 13,
2016), does not mean, on the mixed FCPA question of law and fact for the jury, that no rational
juror could conclude that the government had a majority interest in PPI for FCPA instrumentality
purposes. To be sure, the Court noted in its previous Order that Del Castillo, which interpreted a
similar but different statute, was persuasive, not binding, authority. Mexican Law Order at 6,
8 n.7.
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       Furthermore, Espinosa testified that PPI exclusively received its funding from the DOPA,

PEMEX’s domestic buying department. Id. at 2668:5–13. Indeed, Espinosa testified that PPI

received funding from no other source. Id. at 2668:14–18. This testimony was corroborated by

Guzman, who explained that PEMEX, which is funded by the Mexican government, funds PPI.

Id. at 2970:19–23.

       In the final analysis, the Esquenazi framework does not require that every evidentiary box

must be checked in favor of the prosecution to sustain a conviction. Bluntly, the mere fact that

some testimony could weigh against an instrumentality finding does not mean that no rational trier

of fact could find that PPI is an instrumentality and that Aguilar was guilty beyond a reasonable

doubt as charged in Count Three. See United States v. Rivera, 546 F.3d 245, 250 (2d Cir. 2008)

(affirming conviction where jury, weighing six-factor non-exhaustive test, convicted defendant,

and evidence “arguably satisf[ied] several [] factors”). Because the government introduced ample

evidence permitting the jury to conclude that PPI is an instrumentality under the FCPA, the Court

cannot and will not “substitute [its] own determinations of credibility or relative weight of the

evidence for that of the jury.” Autuori, 212 F.3d at 114. On this reasoning, that branch of Aguilar’s

Rule 29 motion seeking entry of a judgment of acquittal on Count Three is denied. 5



5
   As noted earlier, where there is argument that multiple theories of law and evidence warrant
conviction, sufficient evidence supporting any one of those theories is all that is required to uphold
the conviction. See Masotto, 73 F.3d at 1241. As a consequence, even if the government had
come up short in its evidentiary showing on the second “foreign official” theory, Aguilar would
not be entitled to acquittal. Here, in any case, there was no shortcoming on the second theory; the
government carried its burden there as well. As outlined, the proof showed that Guzman and
Espinosa acted on behalf of PEMEX. Frankly, the testimony of Guzman and Espinosa on their
job-related entanglements with PEMEX satisfactorily established that. See Tr. at 2652:25–2653:3
(“I [(Espinosa)] was responsible for buying goods and services on behalf of PEMEX.”); id.
at 2664:13–17 (“[PPI] is part of the Dirección Operativa de Procura Abastecimiento, which is the
domestic buying department for PEMEX.”); id. at 2667:16–19 (“[E]verything that [] is done in
Pemex Procurement International is reported back to . . . the DOPA department in PEMEX. So,
they would kind of be the bosses of – our office here in Houston.”); id. at 2970:25–2971:3
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       Defendant does not fare better on the balance of his Rule 29 motion. Rooted in very soft

soil, Aguilar contends that the evidence was woefully insufficient to establish his knowledge that

bribes were being paid to foreign officials in Ecuador and therefore to convict him of conspiring

to violate or violating the FCPA under Counts One and Two. Def.’s Mem. at 87–92; Def.’s Reply

at 37–40. It is an argument that asks the Court and jury to turn a blind eye to the commonplace

use by co-conspirators of coded language. In short, Aguilar principally targets the fact that no one

directly testified to using the word “bribe,” so there was insufficient proof that he knew the Pere

brothers—intermediaries through which bribe payments from Aguilar and Vitol passed—were

forwarding bribes to foreign officials. See Def.’s Mem. at 87–89. For example, Aguilar pinpoints

Antonio Pere’s statement that he told Aguilar he “worked with” Nilsen Arias, the International

Trade Manager at Petroecuador, during the relevant period. Id. at 87 (citing Tr. 1058:25–1059:10).

But, taking this evidence that puts him in an ostensibly corrupt relationship with an official at the

very center of Ecuador’s international petroleum trading business, Aguilar doubles down on the

proffer of the relationship as one of innocence not guilt, contending that Arias himself never used

the word “bribe” with him. Id. at 89.

       But, even if true, without borrowing defendant’s pruning shears to cherry pick this nugget

of evidence and toss away the balance of the evidence offered about Aguilar’s relationship with

Arias, the evidence Aguilar clutches has minimal exculpatory value.             On this point, the




(Guzman) (“[PPI is] the goods and services arm of procurement [] for PEMEX.”). Indeed, their
testimony about the procurement of products on behalf of PEMEX was supported by documentary
evidence, including, for example, the buying orders, see GX 5321-T; GX 5322-T, and finalized
supply contracts awarded in connection with bribes paid by Aguilar, see GX5161; GX 5161-T.
While Aguilar contends that Guzman and Espinosa were actually working for PEMEX Etileno,
another PEMEX subsidiary, Def.’s Mot. at 68–70, particularly when construed in favor of the
government, as it must be, see Parkes, 497 F.3d at 225, such evidence, if accepted as true, certainly
supports conviction by any rational trier of fact.
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unvarnished evidence in its totality included thousands of pages of documentary evidence, hours

of phone recordings, and the testimony of numerous witnesses, including various co-conspirators,

supporting his conviction on Counts One and Two. For example, Nilsen Arias, indisputably an

Ecuadorian foreign official, testified that he received bribe payments from Aguilar. Tr. at 91:7–

12.   Arias likewise testified that another foreign official, Xavier Rodriguez, the then-

Undersecretary of Hydrocarbons of Ecuador, introduced Arias to Aguilar and communicated to

Arias that Aguilar was willing to pay bribes to secure business for Vitol. Id. at 134:3–8; id.

at 138:14–21; id. at 144:3–15. Arias gave detailed testimony about how the deals would be

effectuated, including his direction to Rodriguez that he and Aguilar should meet with the Pere

brothers to discuss bribe payments. Id. at 156:21–157:14. Further, when payments were being

made, Arias testified that Antonio Pere, the conduit for the bribes to be paid from Aguilar and

Vitol, confirmed the scheme. Id. at 164:15–25.

       Acknowledging, as he must, that a conviction can hang on the testimony of a single witness,

even a cooperating co-conspirator, see United States v. Truman, 688 F.3d 129, 139 (2d Cir. 2012),

Aguilar goes headlong against the damning testimony that Arias gave against him establishing his

knowledge and involvement. While the attack might have been headlong, it was merely an

assemblage of conclusions. Aguilar, for instance, simply calls that testimony “incredible on its

face,” see Def.’s Mem. at 88–89, but what the argument concedes is that Arias’s testimony was

corroborated by documentary evidence, including financial records tracking payments made at

Aguilar’s behest to Nilsen Arias, see GX 6000, recordings of Aguilar himself acknowledging that

officials would “earn some money,” see GX 3504-T, and emails sent by Aguilar to Lionel Hanst,

a Curaçao-based intermediary involved in moving money from Vitol to the Pere brothers, directing

Hanst to make payments, see, e.g., GX1345-T. Defendant’s urging rings hollow, of course, for



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this evidence too hardly stands alone. Beyond the documentary evidence, the government elicited

testimony from several other co-conspirators, including both Pere brothers, who testified that they

conspired with Aguilar to pay bribes to foreign officials in Ecuador. 6 Tr. at 633:20–23; id.

at 634:20–635:9; id. at 645:9–21; id. at 1513:10–1514:11.            Additionally, Antonio Pere

corroborated Arias’s testimony about the meeting in Mexico City between Aguilar, Rodriguez,

and himself to negotiate the terms of the deal, including bribe payments. Id. at 682:8–689:14.

       The spreadsheet of corroborating evidence does not end there. Some of it takes the form

of words uttered by defendant himself. Specifically, evidence was received regarding Aguilar’s

acknowledgement to federal agents that he believed the Peres to be paying money to foreign

officials in Ecuador. Id. at 2517:22–2518:5. Then, there was Aguilar’s concession that in the

course of his international trading on behalf of Vitol, he had occasion to use alias email accounts

and sham offshore companies and invoices; Aguilar, however, in the absence of an outright

admission, urges the Court—as it did the jury—to discount this circumstantial evidence as

insufficient to support a guilty verdict. Def.’s Mem. at 91.

       As long as it is, the evidence catalogued here is not exhaustive of the record. Adding to

the catalog would be pointless; Aguilar does not challenge the existence of evidence, rather merely

that the evidence lacks sufficient credibility to sustain conviction. See id. at 92. That is, the

evidence was insufficient to show that Aguilar was involved in the corrupt scheme to bribe officials

of the Ecuadorian owned oil company. Id. The task that argument embraces is Herculean. As




6
   To the extent Aguilar argues that there was no credible proof that the Pere brothers had an
agreement with Arias to pay bribes to benefit Vitol, see Def.’s Mem. at 88, both Pere brothers
testified that they did conspire with Aguilar to pay bribes to Arias, see Tr. at 633:20–23; id.
at 634:20–635:9 (Antonio Pere); id. at 1513:10–1514:11 (Enrique Pere), and Arias himself
testified that he told Rodriguez and Aguilar to meet with the Peres to negotiate deal terms, id.
at 156:21–157:14.
                                                10
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noted earlier, a court may not “substitute [its] own determinations of credibility or relative weight

of the evidence for that of the jury.” Autuori, 212 F.3d at 114. It was for the jury to credit or

discredit this evidence. The return of the guilty verdict stands as testament to the voluminous

competent evidence they chose to credit. Consequently, the jury’s verdict finding Aguilar guilty

on Count One and Count Two for his involvement in the bribery of officials responsible for

Ecuador’s international oil trading must be sustained and this aspect of his Rule 29 motion for a

judgment of acquittal on those counts must be denied. 7

         II.   Motion Seeking a New Trial 8

                   A. Diversion Scheme

       Off the start, and with crocodile tears, Aguilar’s Rule 33 motion for a new trial revives his

assault on the Court’s evidentiary decision to permit the government to introduce evidence of

Aguilar’s embezzlement of Vitol funds from the pool of money sent to accounts controlled by

Lionel Hanst, one of the intermediaries involved in the Ecuador and Mexico schemes. Def.’s

Mem. at 23–45; Def.’s Reply at 8–18. The gravamen of Aguilar’s argument is his contention that

he relied on the Court’s pretrial orders excluding this evidence, that nothing in those orders alerted

him to the possibility that events at trial might counsel its admission, and, instead, the Court’s

ultimate admission of such evidence was unduly prejudicial warranting a new trial on all counts.




7
  To the extent Aguilar also moves, in the alternative, for a new trial under Rule 33, see Def.’s
Mem. at 92, such relief is denied for the same reasons as stated above. Here, in the face of a
mountain of compelling evidence implicating Aguilar in the paying of bribes to foreign officials,
the Court has no concern that “an innocent person may have been convicted.” McPartland, 81
F.4th at 123 (quoting Ferguson, 246 F.3d at 134).
8
   The parties engage in footnote combat about the timeliness of Aguilar’s Rule 33 motions.
Compare Gov’t Opp’n at 25 n.6, with Def.’s Reply at 8 n.2. While it is true that, at both the close
of the government’s case and after the jury rendered its verdict, defense counsel mentioned only
Rule 29, counsel did foreshadow briefing additional grounds for post-trial relief. Tr. at 3917:14–
21. The Court therefore deems all branches of defendant’s post-trial motion timely made.
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See Def.’s Mem. at 23–45; Def.’s Reply at 8–18.

       Two bedrock realities knife through the fog of litigation stoked by this branch of Aguilar’s

drive for a new trial. First, from its initial in limine ruling on this topic, the Court always

considered the evidence ultimately admitted against Aguilar to show that he had diverted some of

Vitol’s bribe money to his own pocket relevant and admissible under Rule 401. See 6/2/2023 In

Limine Order, Dkt. 155, at 2–3. The in limine ruling barring use of the evidence rested only with

the Rule 403 balancing of prejudice against probativeness and concluding, at that stage, the

prejudicial nature of the evidence outweighed its probative value. Id. at 4–8. The reality, which

Aguilar apparently chooses to overlook, is that case law provides litigants with the very warning

he claims he did not receive: that is, the caution that a court may always revise an in limine ruling

to fairly accommodate changed trial circumstances even if a litigant has prepared his case to be

tried within the confines of the original ruling. See Kickbacks Mem. Op., Dkt. 324, at 1–2. It is a

simple principle of law that pre-trial evidentiary rulings, particularly those hinging on the delicate

Rule 403 balance, like the Court’s ruling here, are not immutable. 9 See United States v. Wade,

512 F. App’x 11, 14 n.1 (2d Cir. 2013) (summary order) (“[A] pretrial evidentiary ruling is not a

‘straitjacket’ that cannot be revisited in appropriate circumstances.” (citing Cruz v. U.S. Lines Co.,

386 F.2d 803, 804 (2d Cir. 1967))). That the Court’s order hinged on Rule 403 alone forecasted

the possibility that some trial stratagem might alter the balance in favor of admission. 10 See



9
   Indeed, the advisory committee’s notes to Rule 103 counsel that “[e]ven where the court’s
[pretrial] ruling is definitive, nothing in the amendment prohibits the court from revisiting its
decision when the evidence is to be offered.” Wade, 512 F. App’x at 14 n.1 (quoting Fed. R. Evid.
103 advisory committee’s 2000 note (alteration in original)).
10
    Try as he might to manufacture an advance-warning rule in this circuit, Aguilar fails—as he did
during trial—to identify any controlling precedent requiring a trial court to outline for parties what
lines of inquiry may or may not open a door to previously excluded evidence. The Court is aware
of none. That courts have, in some instances, given such guardrails, does not morph into a “settled
judicial practice,” Def.’s Mem. at 30.
                                                 12
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Weyant v. Okst, 182 F.3d 902, at *2 (2d Cir. 1999) (summary order) (no abuse of discretion where

opening statements at trial tilted Rule 403 balance in favor of admitting previously excluded

evidence).

       Moreover, Aguilar’s lament that he was ignorant about the mutability of pretrial rulings is

squarely at odds with actual pretrial litigation in this very case relating to the admissibility of

evidence showing his taking of a kickback from the bribe money targeted for Ecuadorian and

Mexican officials. Indeed, defendant concedes that the admissibility of this evidence continued to

serve as litigation fodder throughout pre-trial briefing. See Def.’s Mem. at 24–27. In fact, in

another pre-trial ruling mere days before trial, the Court explained that “all are agreed that [the]

government would be barred from” introducing kickback evidence “in its case-in-chief unless

defendant opens the door to its admission,” and acknowledged some lines of inquiry proffered by

the parties that would do so. 12/21/2023 In Limine Order, Dkt. 226, at 2–3 (emphasis added). And




         Struggling for a new angle of attack, Aguilar contends that “[c]ourts in and beyond the
Second Circuit routinely grant relief when a party reasonably relies on a trial court’s prior rulings
to craft trial strategies and later is prejudiced when the court backtracks on those rulings.” Def.’s
Mem. at 28. But for a practice Aguilar paints as “routine,” none of the cases he cites supports his
proposition. Id.; Def.’s Reply at 13. In fact, in not one of the Second Circuit cases in this line did
the court find prejudice at all, much less prejudice arising from a pre-trial evidentiary ruling (on
Rule 403 grounds or otherwise) that later shifted in the context of trial. In Warner Bros, Inc. v.
Am. Broad. Cos., Inc., 720 F.2d 231 (2d Cir. 1983), the district court initially denied defendant’s
summary judgment motion following full briefing, but after a two-week pretrial conference,
granted partial summary judgment. Id. at 238–39. The court later sua sponte granted total
summary judgment to defendant after re-reviewing all of plaintiff’s evidence. Id. at 246. The
Second Circuit found no procedural error, recognizing a trial court’s “discretion to reconsider an
interlocutory ruling.” Id. at 245–46. In United States v. Tapia-Ortiz, 593 F. App’x 68 (2d Cir.
2014), the Second Circuit addressed the timeliness of a pro se litigant’s appeal where it was unclear
whether the district court construed a Federal Rule of Criminal Procedure 36 motion as a civil
habeas petition, noted the court’s ambiguous language and potential for litigant confusion, but
affirmed. Id. at 70–71. And finally, in Caruso v. Forslund, 47 F.3d 27 (2d Cir. 1995), the Second
Circuit remarked that the district court’s statement at a charge conference that it would reserve a
punitive damages charge might have “lulled the plaintiff into failing to object,” but that ultimately,
there was “no excuse for plaintiff’s failure to raise the issue.” Id. at 31.
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although it could not “presently conceive” of others, the Court explicitly noted that its ruling was

“[w]ithout prejudice to the government’s argument to the contrary at the time of trial.” Id. at 3.

While Aguilar represents the Court’s order as identifying “only” two ways the door could be

opened to this evidence, see Def.’s Mem. at 26, the Court’s Order was not so limited. Put simply,

Aguilar’s reliance on the Court’s June 2023 pre-trial Rule 403 assessment, in the face of the

unsettled nature of that balance and the reality that the evidence’s admissibility continued to be

highly contested, falls well short of meeting his burden of showing “manifest injustice” tilting the

scales and warranting a new trial. See Ferguson, 246 F.3d at 134.

       With respect to the events occurring at trial and the Court’s ultimate decision to permit the

government to introduce evidence of Aguilar’s kickbacks taken from funds controlled by Lionel

Hanst, Aguilar rehashes his argument that defense counsel’s line of questioning during cross-

examination of Nilsen Arias and Antonio Pere did not create a misleading inference that equated

the receipt of kickbacks to knowledge that bribery was afoot.          See Def’s Mem. at 33–38.

Especially given the Court’s ruling that, in the context of opening the door to the admission of

diversion scheme evidence, further inquiry about kickbacks received by other oil traders should

not be pursued, see Tr. at 490:21–22, the Court need not recapitulate the reasoning behind its

decision to permit the government to cure the misimpression created by defense counsel’s cross-

examination, which it explained in detail in its February 22, 2024 Memorandum Opinion. See

Kickbacks Mem. Op. at 1–6; see also United States v. Bilzerian, 926 F.2d 1285, 1296 (2d Cir.

1991) (“The weighing of relevance under Rule 403 may be altered when a false impression is

created by earlier testimony.”). For the reasons stated in that Memorandum Opinion, the Court

finds no error in its decision to admit evidence of Aguilar’s kickbacks. See United States v.

Napout, 332 F. Supp. 2d 533, 556 (E.D.N.Y. 2018) (denying defendant’s new trial motion



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challenging court’s reconsideration of pre-trial evidentiary ruling). So, too, for Aguilar’s charge

that the Court “improperly overlooked the government’s failure to satisfy the ‘Offer of Proof.’”

See Def.’s Mem. at 38–41; Kickbacks Mem. Op. at 5–6 (discussing offer of proof and

government’s satisfaction of it); Tr. at 2207 (same).

       Aguilar’s prejudice argument fares no better. According to him, the Court’s admission of

kickback evidence resulted in undue prejudice because (1) the government called Michael Petron

to present a flow-of-funds analysis, part of which included tracing Aguilar’s kickbacks, and (2)

the government improperly emphasized the propensity inference that the jury could draw from the

kickback evidence. Def.’s Mem. at 41–44. The Court already rejected Aguilar’s argument that

Petron should not have been permitted to testify, see 2/5/2024 Order, a decision the Court finds no

error in now. In any event, Petron’s testimony spanned topics broader than Aguilar’s kickbacks,

see Tr. at 3128–3213; Aguilar’s contention that the Court’s ruling on kickback evidence was the

sole reason Petron was able to testify is therefore erroneous.

       The next claim of prejudice rests on Aguilar’s contention that the government wrongfully

“exploited” the admission of the evidence to establish criminal propensity. Def.’s Mem. at 43.

Defendant’s rear-view mirror analysis is without merit. First, the case law on which Aguilar relies

dealt with evidence admitted under Rule 404(b). See id. (first citing United States v. McCallum,

584 F.3d 471, 477 (2d Cir. 2009), and then citing United States v. Newton, No. S101-cr-635 (CSH),

2002 WL 230964, at *5 (S.D.N.Y. Feb. 14, 2002)). As the Court has repeatedly held, evidence of

Aguilar’s kickbacks constituted direct evidence of the charged schemes, 6/2/2023 In Limine Order

at 2–3; Kickbacks Mem. Op. at 1, and was admitted as such. Second, especially due to the

inference created by the defense during trial, which led to its admission, evidence of Aguilar’s

kickbacks was highly probative of his control over funds sent from Vitol to Lionel Hanst and his



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knowledge that bribery was afoot. Kickbacks Mem. Op. at 4–5; Tr. at 1661:23–1663:2. Indeed,

although Aguilar protests that the government used the evidence to push a propensity argument

during summation, the transcript quotes he himself cites reveal nothing more than the

government’s emphasis to the jury that Aguilar’s kickbacks evidenced his knowledge and control

over Vitol’s bribe money, not to show that his embezzlement of Vitol’s funds should be used by

the jury as evidence of his disposition to commit the crimes charged against him in this case. See

Def.’s Mem. at 43–44 (quoting Tr. at 3544:7–11 (“[Aguilar] knew that these contracts and invoices

were fake.” (emphasis added)); id. at 3545:25–3547:6 (“[Aguilar] knew what he was doing with

the Peres.” (emphasis added)); id. at 3565:15–23 (“[Aguilar] knew he could move money through

Hanst.” (emphasis added))). The Court thus finds no error in its admission of this evidence or with

the government’s summation. 11

                   B. FCPA Affirmative Defense

       After the close of evidence, Aguilar requested that the Court in its charge instruct the jury

on the FCPA’s affirmative defense. See Def.’s Affirmative Defense Ltr. Mot., Dkt. 316, at 1–4.

He now contends that the Court’s refusal to do so constitutes error requiring a new trial on all

counts. See Def.’s Mem. at 45–52; Def.’s Reply at 18–23. At trial, Aguilar linked his charge




11
    Even assuming error in admitting the evidence, any such error was harmless. There is a
landslide of other evidence attesting to Aguilar’s knowledge and willful participation in the
schemes, including documents showing inculpatory communications (including Aguilar’s)
through alias email accounts, see e.g., GX 1345-T, evidence that the bribe payments were
effectuated through a concealed web using intermediaries outside of Vitol’s traditional payment
mechanisms, hours of phone call recordings in which Aguilar and his co-conspirators, using code,
discussed the schemes and the bribe payments involved, see, e.g., GX 3504-T; GX 3516, and the
testimony of six co-conspirators who testified to Aguilar’s involvement, see, e.g., Tr. at 91:7–12
(Arias); id. at 2653:8–13 (Espinosa); id. at 2960:16–21 (Guzman). In light of this non-exhaustive
mountain of evidence independent from the kickback evidence, the Court has no concern that, by
virtue of the evidence’s admission, “an innocent person may have been convicted.” McPartland,
81 F.4th at 123 (quoting Ferguson, 246 F.3d at 134).
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request to the Court’s finding, as a matter of law, that Espinosa and Guzman were not “public

servants” within Article 222(II) of Mexico’s penal code, to his entitlement to an instruction that it

is an affirmative defense to the FCPA where “the payment, gift, offer, or promise of anything of

value that was made, was lawful under the written laws and regulations of the foreign official’s

. . . country.” 15 U.S.C. § 78dd-2(c)(1). Rejected at trial, Aguilar renews his arguments now.

       Defendant’s argument essentially asks the Court to conflate its finding that Espinosa and

Guzman were not public servants for purposes of violating a single section of Mexico’s criminal

law into a finding that the conduct was lawful under all sections of Mexican law. 12 His reading

falsely equates “not unlawful under a written law” with “lawful under the written laws.” See 15

U.S.C. § 78dd-2(c)(1) (emphases added). But just because the conduct was not unlawful under

Article 222(II) does not mean it was lawful under Mexico’s written laws. See 2/20/2024 Order.

Indeed, in United States v. Ng Lap Seng, court in the Southern District rejected a defendant’s

similar interpretation of the affirmative defense—that, if he could show that no law in Antigua or

the Dominican Republic proscribed the payments, he was entitled to the affirmative defense. No.

15-cr-706 (S.D.N.Y.), Trial Tr. 715-16. The court held such an interpretation to be “inconsistent

with the plain meaning of the language” of the statute. Id. That logic applies equally here. In Ng

Lap Seng, pointing to the absence of laws making conduct unlawful was insufficient to show that

the payments were lawful. Here, pointing to one law that does not make the conduct unlawful is

equally insufficient to show that it is lawful.




12
    To be clear, contrary to Aguilar’s reading of the Court’s Order regarding Article 222(II), the
Court did not hold that Mexican antibribery law “did not proscribe the payments.” Def.’s Mem.
at 48; Def.’s Reply at 20. The Court’s Order answered the narrow question before it: whether
Guzman and Espinosa were “public servants” within the meaning of Article 212 as that term is
used in Article 222(II). The Court did not make any pronouncement of whether the payments were
lawful generally under Mexico law.
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        Nor can Aguilar’s reading be squared with congressional intent. As courts within and

outside this circuit have recognized, when construing the FCPA’s affirmative defenses, Congress

“narrowly defin[ed] exceptions and affirmative defenses against a backdrop of broad

applicability.” See United States v. Kay, 359 F.3d 738, 756 (5th Cir. 2004); see also United States

v. Kozeny, 493 F. Supp. 2d 693, 705 (S.D.N.Y. 2007). That much is confirmed by the legislative

history. When Congress amended the FCPA to add the written laws affirmative defense, the

conference report emphasized that “[t]he Conferees wish to make clear that the absence of written

laws in a foreign official’s country would not by itself be sufficient to satisfy this defense.” H.R.

Conf. Rep. 100-576, 922, 1988 U.S.C.C.A.N. 1547, 1955. The conference report thus reinforces

the statutory text: whether Aguilar’s payments were not unlawful under one—or any—provision

of Mexican law does not entitle him to the affirmative defense that the payments were lawful. 13

        Moreover, Aguilar’s reading is atextual in that it imports an additional element into the

FCPA: under his theory, prosecution under the FCPA would necessarily be tethered to the

existence of a provision of foreign law that criminalizes the defendant’s specific conduct at issue.

See 2/20/2024 Order. Practically speaking, under Aguilar’s interpretation, the affirmative defense

would be redrawn as a pleading obligation to show, presumably after an exhausting examination

of the laws of the country victimized by corruption, that the payments could be punishable under



13
   For all of its irony, defendant accepts, as he must, that it is his burden to prove the affirmative
defense. See Def.’s Mem. at 49. Acceptance of that burden rings the death knell for his argument:
beyond contending that the payments to Guzman and Espinosa were not unlawful under Article
222(II), Aguilar makes no effort to argue that they were not unlawful under other provisions of
Mexican law—an argument that would still be insufficient under the statute. This is perhaps due
to his earlier concessions that “Article 212 . . . is not the only law that proscribes bribery, it is just
the one that applies to public servants,” and “PPI employees are subject to the same criminal, civil,
and employment sanctions that apply to all private-company employees who steal from or defraud
their employers by engaging in bribery, embezzlement, or other forms of corrupt conduct.” Def.’s
Ltr. Re Mexican Bribery Law, Dkt. 290, at 4. It is most compelling, to be sure, that Aguilar does
not, for he cannot, point to any provision of Mexican law making the payments lawful.
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at least one provision of that country’s law before the government could charge a violation of

domestic law. The statute’s text does not contain such a requirement. Were the Court to adopt

Aguilar’s approach, the statutory language—“lawful under the written laws”—would be

meaningless. Aguilar’s argument is no more meritorious this time around, and he is accordingly

not entitled to a new trial on this basis.

                    C. Evidentiary Spillover

        Aguilar next contends that he is entitled to a new trial on all counts based on the prejudicial

spillover impact of evidence adduced at trial in the prosecution of the Mexico scheme as charged

in Count Three. Def.’s Mem. at 71–74; Def.’s Reply at 31–32. Invalidation of a count in the

indictment, however, is a condition precedent to a successful motion on this ground. See United

States v. Rooney, 37 F.3d 847, 855 (2d Cir. 1994) (“When an appellate court reverses some but

not all counts of a multicount conviction, the court must determine if prejudicial spillover from

evidence introduced in support of the reversed count requires the remaining convictions to be

upset.”); Def.’s Mem. at 71; Def.’s Reply at 31.

        To the extent Aguilar’s argument stems from the Court’s decision finding Guzman and

Espinosa to not qualify as “public servants” under Article 222(II) of the Mexican penal code,

thereby eliminating the charged specified unlawful activity of violating that provision of foreign

law, that decision did not invalidate Count Three, it merely removed one of the three charged

specified unlawful activities undergirding that Count. And, as explained supra Section I, the

government produced more than sufficient evidence permitting the jury to convict Aguilar on

Count Three in connection with the specified unlawful activity of violating the FCPA through the

Mexico scheme that was unaffected by the Court’s ruling that Espinosa and Guzman were not

public servants under Article 222(II). This branch of Aguilar’s motion is therefore denied.



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                   D. The Airport Statements

       With the focus returning to the 2020 interview of Aguilar by two federal agents at IAH in

Houston, Texas, defendant’s new trial motion is an echo of the early days of this prosecution. The

arguments have not changed much, nor has the evidence. The lifeblood of Aguilar’s argument is,

as it was then, that he was in custody at the time of his interview with the agents and that the

statements he made must be suppressed because they were obtained in violation of his Fifth

Amendment rights. 14 Def.’s Mem. at 77–84; Def.’s Reply at 35–38. But defendants aggrieved by

the impact of unsuppressed statements at trial “may not use Rule 33 as a vehicle to relitigate pretrial

rulings with which [they] disagree[].” United States v. Flom, 256 F. Supp. 3d 253, 272 (E.D.N.Y.

2017), aff’d, 763 F. App’x 27 (2d Cir. 2019).

       In a feeble effort to scrape together a new argument, Aguilar contends that the Court erred

in “largely rest[ing]” its prior decision on a finding that two Customs officers informed Aguilar

that he could leave, because he was subsequently approached by FBI agents, and thus clearly was

not free to go. Def.’s Mem. at 80; see also Def.’s Reply at 36. Assuming solely for purposes of

argument that defendant’s challenging the Court’s suppression findings can be transmuted into an

argument for a new trial under Rule 33, such successful transmutation would do nothing to shore

up the feeble nature of his argument that is rooted in his misreading of the Court’s findings at the

suppression hearing. Specifically, rather than hitch its “free to leave” finding on the statements of




14
   Just as before, Aguilar now cites the fact that the interview was conducted at an airport, in an
interview room with two armed federal agents and with other Customs officers outside, while he
was in a chair bound to the table and was questioned for over an hour. Compare Def.’s Mem.
at 78–79, with Mot. to Suppress, Dkt. 66-1, at 7–9, 17–27; see also Post-Hr’g Suppression Mem.,
Dkt. 97, at 10–14. And, again, Aguilar urges the Court to discredit the agents’ statements to him
that he was free to leave, contending both now and then that the circumstances and setting of the
interview negated any belief that he was in fact free to leave. Compare Def.’s Mem. at 80–81,
with Mot. to Suppress at 23–30; see also Post-Hr’g Suppression Mem. at 14, 47.
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the Customs officers made before Aguilar was questioned by FBI Special Agents Wood and Zukas,

as Aguilar contends, the Court actually emphasized that it found credible the testimony of Special

Agents Zukas and Wood themselves that they informed him that he was free to terminate the

encounter and leave at any time. Suppression Order, Dkt. 106, at 6, 12–13.

       In yet another overreach, Aguilar repackages his suppression hearing contention that,

because the agents who interviewed him at the airport believed he was guilty, those subjective

beliefs of the agents converted the interview into a custodial interrogation. Compare Def.’s Mem.

at 81–82, with Post-Hr’g Suppression Mem. at 40–43. He reinforces his argument by reference to

a Supreme Court precedent he claims the Court overlooked, Stansbury v. California, for the

proposition that “an agent’s ‘beliefs concerning the potential culpability of the individual being

questioned’ support a finding that the suspect was in Miranda custody when the officer reveals

those beliefs to the suspect ‘by word or deed.’” Def.’s Mem. at 81–82 (quoting Stansbury, 511

U.S. 318, 325, 114 S. Ct. 1526, 128 L. Ed. 2d 293 (1994)). However, as the Stansbury Court made

clear, an officer’s subjective belief is “relevant only to the extent [it] would affect how a reasonable

person in the position of the individual being questioned would gauge the breadth of his or her

‘freedom of action.’” Id. (internal citations omitted). Thus, an agent’s or officer’s subjective

belief, “if undisclosed, does not bear upon” the Fifth Amendment inquiry, and even when

disclosed, is merely “one among many factors that bear upon the” custody assessment. 15 Id.

at 324–25.

       Reinforced by Stansbury, Aguilar’s argument, at its essence, is that because of his

preconceived belief of Aguilar’s guilt, Agent Wood “worked aggressively over 90 minutes to try



15
    For example, even an agent’s “clear statement” to the suspect that he is a prime suspect “is not,
in itself dispositive of the custody issue, for some suspects are free to come and go until the police
decide to make an arrest.” Id.
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to” get his admission of guilt “in a coercive, government-controlled setting,” converting the

interview from what it might otherwise have been to a custodial interrogation. Def.’s Mem. at 82.

The aspirational meanders far from reality. Put simply, Aguilar points to nothing more than the

same conditions that the Court has already held to not be custodial. Being unable to pinpoint

anything indicating that Agent Wood disclosed any subjective belief—let alone that the disclosure

unconstitutionally infected the interview—Stansbury is no life raft for Aguilar’s new trial hopes.

See Flom, 256 F. Supp. 3d at 272.

         Unable to take out the suppression hearing with a single missile, defendant turns to a more

traditional ground game—taking scatter gunshots at Agent Wood’s credibility as a witness:

namely, his fading memory, lack of notes, minimal involvement in the case prior to the interview,

and the fact that the interview was not recorded. Def.’s Mem. at 83–84. The Court found these

same arguments, see Post-Hr’g Suppression Mem. at 14–15, 68, unpersuasive, when it deemed

Agent Wood’s testimony credible.         See, e.g., Suppression Order at 16 (rejecting defense’s

“standard impeachment nibbles in an attempt to plant seeds of doubt about the veracity of the

agents’ testimony”). What’s more, at trial, Agent Wood’s credibility was put to the test by defense

counsel’s rigorous cross-examination on exactly these topics. Tr. at 2523–2525. The “[j]urors

were aware that they could accept or reject [Agent Wood’s] testimony,” and, seemingly having

accepted it, the Court will not substitute its credibility determinations for that of the jury had they

been deficient. United States v. Guerrero, 882 F. Supp. 2d 463, 488 (S.D.N.Y. 2011), aff’d, 560

F. App’x 110 (2d Cir. 2014), and aff’d, 813 F.3d 462 (2d Cir. 2016). Accordingly, Aguilar’s Fifth

Amendment qualms do not warrant revisiting the Suppression Order, much less granting a new

trial.

         Nor does Aguilar’s related evidentiary argument pursuant to Rule 403 compel a different



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result. As the government points out, see Gov’t Opp’n at 55, Aguilar failed to interpose a Rule

403 objection to Agent Wood’s testimony during trial. It is therefore waived. See United States

v. Amato, 31 F. App’x 21, 24 (2d Cir. 2002); Fed. R. Evid. 103(a). Even assuming, arguendo, that

Aguilar did object, since the trial court would have the discretion to grant relief barring evidence

that was otherwise relevant and probative, see United States v. Yousef, 327 F.3d 56, 121 (2d Cir.

2003), his Rule 403 argument—that Agent Wood’s testimony was cumulative and therefore

minimally probative, while the prejudicial effect was “enormous” because juries place undue

weight on confessions or admissions of guilt—is unpersuasive. See Def.’s Mem. at 84–86.

       Reflection on the objection not made brings us to the substance of defendant’s quandary.

In the same breath that Aguilar contends that the government failed to prove beyond a reasonable

doubt his knowledge of bribes being paid to foreign officials, Def.’s Mem. at 87–92, he

simultaneously contends that Agent Wood’s testimony was cumulative of “the dozens of hours of

recorded conversations” and “hundreds of pages of [his] emails that the government showed the

jury” as evidence of knowledge. Id. at 85 (emphasis in original). Consequently, no matter how

he cuts it, Aguilar recognizes that the issue of knowledge was a highly contested focal point of

trial—particularly his knowledge of the fact that the Pere brothers were paying bribes to foreign

officials. Agent Wood testified about Aguilar’s very own statements when questioned directly

about the Pere brothers, Lionel Hanst, and the payment of money to foreign officials. 16 Agent

Wood’s testimony presented a unique revelation of Aguilar’s knowledge about matters at the heart

of the case in Aguilar’s own words, making the testimony highly probative of Aguilar’s knowledge

and intentional participation in the paying of bribes.



16
  Indeed, Agent Wood testified that Aguilar claimed to not know the Peres (specifically, Enrique
Pere’s name) mere months after a sit-down lunch meeting with the Pere brothers on March 15,
2020. See GX 3513 (lunch meeting recording); Tr. at 2606:18–21.
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       Furthermore, contrary to Aguilar’s insistence, the potential prejudice occasioned by the

risk that the jury would unduly weigh Agent Wood’s testimony was sufficiently assuaged both by

the defense’s rigorous cross-examination of him, as noted supra, as well as by the Court’s

instruction to the jury on both law enforcement officer credibility and on defendant’s statements

made to law enforcement. Tr. at 3813:19–3814:11 (law enforcement testimony charge); id.

at 3818:20–3819:10 (consciousness of guilt charge); see United States v. Botero-Jaramillo, 118 F.

App’x 535, 538 (2d Cir. 2004) (summary order) (finding risk that jury would place undue weight

on FBI agent’s testimony mitigated by district court’s admonition that “testimony of a law

enforcement officer is entitled to no special treatment or consideration”). In any event, considering

all of the arguments individually and collectively, Aguilar has not carried his burden to show that

Agent Wood’s testimony yielded a “manifest injustice,” and his Rule 33 motion is therefore denied

on these grounds. Ferguson, 246 F.3d at 134.

                   E. The Breadth of Count Three

       Aguilar next moves for a new trial on Count Three only, asserting that the government

pulled a fast one on him during trial and abandoned its theory of liability that PPI itself was an

instrumentality in exchange for a “new theory of criminality”: that Guzman and Espinosa worked

on behalf of PEMEX. Def.’s Mem. at 52–64; Def.’s Reply at 23–25. This shift, Aguilar contends,

constituted both a constructive amendment to the Indictment and a prejudicial variance. Def.’s

Mem. at 53. It was neither.

                           i. Constructive Amendment

       Defendant principally argues that the government constructively amended the Indictment

when it provided the jury with two alternatives for establishing that Guzman and Espinosa were

“foreign officials” under the FCPA: (1) that PPI was an instrumentality; or (2) that,



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notwithstanding PPI’s status, Guzman and Espinosa acted on behalf of PEMEX, an

instrumentality. Def.’s Mem. at 59. Aguilar contends that the second pathway to conviction was

introduced at the eleventh hour of trial. Id. at 60–62.

       As with virtually all remedies designed to upset the verdict of a jury, the test is hard and

the barrier firm. “[T]o establish a constructive amendment, a defendant must show that the trial

evidence or jury instructions ‘so altered an essential element of the charge that, upon review, it is

uncertain whether the defendant was convicted of conduct that was the subject of the grand jury’s

indictment.’” United States v. Bastian, 770 F.3d 212, 220 (2d Cir. 2014) (quoting United States

v. Rigas, 490 F.3d 207, 227 (2d Cir. 2007)). In other words, “a constructive amendment occurs

where the government introduces proof of ‘a complex of facts distinctly different from that’

charged by the grand jury, not where it merely amends details pertaining to ‘a single set of discrete

facts’ set forth in the indictment.” Id. at 223 (citing United States v. D’Amelio, 683 F.3d 412, 417

(2d Cir. 2012)).

       “Not every divergence from the terms of an indictment, however, qualifies as a constructive

amendment.” Id. at 220. “For example, there is no constructive amendment ‘where a generally

framed indictment encompasses the specific legal theory or evidence used at trial.’” United States

v. Teman, 465 F. Supp. 3d 277, 295 (S.D.N.Y. 2020), aff’d, No. 21-1920-CR, 2023 WL 3882974

(2d Cir. June 8, 2023) (quoting United States v. Salmonese, 352 F.3d 608, 620 (2d Cir. 2003)).

Such is consistent with the reality that the Second Circuit has long followed the practice of

“‘permitt[ing] significant flexibility in proof’ adduced at trial to support a defendant’s conviction,

‘provided that the defendant was given notice of the core of criminality to be proven’ against him.”

Bastian, 770 F.3d at 220 (citing D’Amelio, 683 F.3d at 417). Thus, “[s]o long as the indictment

identifies the ‘essence of [the] crime’ against which the defendant must defend himself,



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discrepancies in ‘the particulars of how a defendant effected the crime’ do not constructively

amend the indictment.” Id. (citing D’Amelio, 683 F.3d at 418).

       In the end, Aguilar’s argument is superfluous because it is flattened by the words of the

Superseding Indictment. It is axiomatic that, for an indictment to be constructively amended, the

proof at trial must differ from what the indictment charges. The Superseding Indictment expressly

charges that both Guzman and Espinosa were not only employees of PPI, but also that both

individuals “acted in an official capacity for and on behalf of PEMEX.” 17 Superseding Indictment,

Dkt. 120, at ¶¶ 9 (Guzman), 10 (Espinosa). 18 Similarly, when describing the Mexico scheme, the

government expressly charged that Aguilar paid bribes to Mexican officials—including Guzman

and Espinosa—“in exchange for, among other things, securing improper advantages for Vitol in

obtaining and retaining business with PEMEX.”            Id. at ¶ 37 (emphasis added).       That the

government’s trial strategy focused less—in Aguilar’s eyes—on its theory that Guzman and

Espinosa worked on behalf of PEMEX and more on its argument that PPI was itself an

instrumentality 19 does not mean that the proof at trial “differ[ed] significantly from the charge




17
   In fact, as Aguilar concedes, “the FCPA’s text equally supports the government’s new theory
of criminality by defining ‘foreign official’ to include ‘any person acting in an official capacity for
or on behalf of any [foreign] government . . . instrumentality.’” Def.’s Mem. at 62 (citing 15
U.S.C. §§ 78dd-2(h)(2)(A), 78dd-3(f)(2)(A) (alteration in original)).
18
   Pointedly, when forced to confront the words of the Indictment, Aguilar’s only rebuttal is that
the Superseding Indictment focused more on PPI as an instrumentality than on the alternative
theory. Def.’s Reply at 24.
19
    It bears repeating that whether, under Mexican law, Guzman and Espinosa were “public
servants” within the meaning of Mexico’s penal code is a distinct inquiry from whether PPI is an
instrumentality under the FCPA, or whether individuals employed for a non-governmental entity
may still act “on behalf of” an instrumentality for FCPA purposes. As such, Aguilar’s contention
that “the Court . . . drove in the final nail in the coffin on PPI’s purported status as an FCPA
instrumentality,” Def.’s Mem. at 58, erroneously blurs the fault lines between domestic and foreign
law.
                                                  26
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upon which the grand jury voted,” 20 where the grand jury indictment contained both theories. 21

United States v. Dove, 884 F.3d 138, 146 (2d Cir. 2018); see also Teman, 465 F. Supp. 3d at 295

(“[T]here is no constructive amendment ‘where a generally framed indictment encompasses the

specific legal theory . . . used at trial.’” (quoting Salmonese, 352 F.3d at 620)). The evidence

adduced at trial was therefore “wholly consistent with the terms of the superseding indictment

voted on by the grand jury,” Dove, 884 F.3d at 149, and does not warrant a new trial.

                           ii. Prejudicial Variance

       In the alternative, Aguilar contends that the same “shift” constituted a prejudicial variance

separately warranting a new trial. Def.’s Mem. at 63–64. “A variance occurs when the charging

terms of the indictment are left unaltered, but the evidence at trial proves facts materially different

from those alleged in the indictment.” Dove, 884 F.3d at 149. In other words, where a constructive

amendment requires that “the evidence or the jury charge on which [defendant] was tried

broaden[ed] the possible bases for conviction beyond the indictment voted on by the grand jury, a

defendant alleging a variance must establish that the evidence offered at trial differs materially

from the evidence alleged in the indictment.” Id. A defendant seeking a new trial based on a

variance must show “(1) the existence of a variance, and (2) that ‘substantial prejudice’ occurred

at trial as a result.” Id. (citing United States v. McDermott, 245 F.3d 133, 139 (2d Cir. 2001)).

       For reasons similar to those discussed above, it cannot be said that the evidence at trial



20
   Ironically, as the government points out, Gov’t Opp’n at 46–47, Aguilar himself requested that
the Court add to its jury charges the government’s second “foreign official” theory. See Aguilar
Request to Charge, Dkt. 231, at 30.
21
    Bluntly, despite Aguilar’s characterization of the government’s theory as being one that
sprouted at the “eleventh hour” during trial, and notwithstanding the fact that the theory was
actually charged in the Indictment, the government adhered to its theory in opening statements.
See Tr. at 47:1–8 (“Among other things, you’ll learn that everything those officials did, everything,
was for and on behalf of PEMEX and the Mexican government.” (emphasis added)). If the
government was hiding this theory, it was hiding it out in the clear light of day.
                                                  27
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“materially differed” from that charged in the Indictment. Both Guzman and Espinosa were

described in the Indictment as having worked in an official capacity on behalf of PEMEX and

charged with receiving bribes from Aguilar in connection with his effort to retain business with

PEMEX. Superseding Indictment ¶¶ 9–10, 37. Again, even if a jury were to conclude that PPI is

not itself an instrumentality under the FCPA—despite the ample evidence in the record that would

permit a rational juror from concluding otherwise, see supra Section I—the evidence adduced at

trial about the relationship between PPI and PEMEX clearly supported a finding that, as charged

in the Indictment, Guzman and Espinosa acted on behalf of PEMEX under the government’s

second theory. See, e.g., Tr. at 2652:25–2653:3 (“I (Espinosa) was responsible for buying goods

and services on behalf of PEMEX.”); id. at 2664:13–17 (“[PPI] is part of the Dirección Operativa

de Procura Abastecimiento, which is the domestic buying department for PEMEX.”); id.

at 2667:16–19 (“[E]verything that [] is done in Pemex Procurement International is reported back

to . . . the DOPA department in PEMEX. So, they would kind of be the bosses of – our office here

in Houston.”). Such testimony leaves no gap between the evidence produced by the government

and the words of the Superseding Indictment.

       As for prejudice, Aguilar contends that he was prejudiced because he had “extensively

prepared for and,” in the defense’s view, “successfully rebutted” the government’s theory that PPI

itself was an instrumentality of the Mexican government, and that the government’s so-called late-

bloomed other theory “depriv[ed] him of the time and opportunity to” rebut that Guzman and

Espinosa acted on behalf of PEMEX. Def.’s Mem. at 63–64. Yet, that defense counsel now lament

that they did not adequately prepare to rebut a theory presented in the plain terms of the

Superseding Indictment does not blossom into a Fifth Amendment violation. See United States v.

Khalupsky, 5 F.4th 279, 294 (2d Cir. 2021) (“[T]he superseding indictment itself put [the



                                               28
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defendant] on notice of much of the evidence about which he [now] complains.”). Consequently,

because there was, in fact, no variance from which Aguilar was prejudiced, this branch of his

motion for a new trial on Count Three is denied.

                   F. Unanimity on Specified Unlawful Activities

       On this branch of his Rule 33 motion for a new trial as to Count Three, defendant contends

that the Court erred in failing to instruct the jury that the jurors had to be unanimous as to which

specified unlawful activity they found to be the purpose of the money laundering conspiracy

charged in that Count. Def.’s Mem. at 74–77; Def.’s Reply at 32–35. Aguilar argues that the

charge, in the absence of the claimed missing instruction, violated the constitutional guarantee that

the jurors unanimously agree to “the nature of the defendant’s violation.” Def.’s Mem. at 76

(quoting McKoy v. North Carolina, 494 U.S. 433, 450 n.5, 110 S. Ct. 1227, 1237, 108 L. Ed. 2d

369 (1990) (Blackmun, J., concurring)).

       To recapitulate, Count Three charged Aguilar with conspiring to launder money in

violation of 18 U.S.C. § 1956(h)—a conspiracy which the government charged as having two

objects: (1) a “promotional” object, and (2) a “concealment” object. See Superseding Indictment

¶ 56(a)–(b); 18 U.S.C. §§ 1956(a)(2)(A), 1956(a)(2)(B)(i). Underlying each object was an “intent

to promote the carrying on” of two specified unlawful activities: (1) felony violations of the FCPA

(relating to the Ecuador or Mexico scheme); and (2) offenses against a foreign nation in violation

of the Ecuadorian penal code. 22 See Superseding Indictment ¶ 56(a)–(b). In its final instructions,

the Court charged the jury that it must be unanimous on its conviction as to the object underlying

Count Three. See Tr. at 3842:25–3843:7; see also Verdict Sheet, Dkt. 315, at 2. But beyond



22
   The third charged specified unlawful activity, offenses against a foreign nation in violation of
the Mexican penal code, was eliminated by the Court’s decision regarding Article 222(II). See
supra Section II.C.
                                                 29
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requiring unanimity as to the conspiracy’s object, defendant contends that it was constitutionally

infirm to not require additional unanimity as to the specified unlawful activity animating each

object.

          The over-arching law on this point is clear that unanimity is required as to each element of

a charged offense. See United States v. Estevez, 961 F.3d 519, 527 (2d Cir. 2020); United States

v. Requena, 980 F.3d 30, 48 (2d Cir. 2020) (quoting Richardson v. United States, 526 U.S. 813,

817, 119 S. Ct. 1707, 143 L. Ed. 2d 985 (1999)). Surely, at times, there may be evidence of

different means by which the defendant violated the law as charged in the indictment. But, it does

not matter whether all jurors agree to the same means used by the defendant to commit the crime,

“‘as long as all 12 jurors unanimously conclude that the Government has proved the necessary []

element’” of the crime related to the use of these means. 23 Requena, 980 F.3d at 48–49 (cleaned

up) (quoting Richardson, 526 U.S. at 817). Accordingly, if the specified unlawful activities do

not constitute elements of a money laundering offense, the jury need not have been unanimous as

to those specified unlawful activities.

          Aguilar’s demand for granular unanimity is, however, foreclosed by case law. The Second

Circuit has rejected the notion that a specified unlawful activity charged within money laundering




23
    To illustrate the distinction, the Second Circuit in Requena adopted the Supreme Court’s
discussion in Mathis v. United States, 579 U.S. 500, 136 S. Ct. 2243, 195 L. Ed. 2d 604 (2016), of
a hypothetical statute requiring “‘use of a deadly weapon’ as an essential element of a crime” and
further providing that “use of a ‘knife, gun, bat, or similar weapon’ would all qualify” as a deadly
weapon. Requena, 980 F.3d at 49 (quoting Mathis, 579 U.S. at 506) (internal quotation marks
omitted). Use of a deadly weapon is an element, but the list of deadly weapons provides “‘diverse
means of satisfying [that] element.” Id. (quoting Mathis, 579 U.S. at 506). Thus, “a ‘jury could
convict even if some jurors concluded that the defendant used a knife while others concluded he
used a gun, so long as all agreed that the defendant used a “deadly weapon.”’” Id. (quoting Mathis,
579 U.S. at 506) (internal quotation marks omitted). Unanimity was required as to use of a deadly
weapon—the element of the crime—but not as to which possible weapon from a list a defendant
used to satisfy the element.
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conspiracy is an essential element of the crime. See United States v. Stavroulakis, 952 F.2d 686,

691–92 (2d Cir. 1992). As the court explained, “Section 1956 does not penalize the underlying

unlawful activity from which the tainted money is derived. . . . The statute [] does not distinguish

among the[] specified unlawful activities either in degrees of importance or levels of criminal

culpability.” Id. at 691; see also Requena, 980 F.3d at 49 (statutory alternatives not elements

where they do not carry different minimum or maximum punishments). Indeed, “[a]ll the specified

unlawful activities are clustered, almost willy-nilly, under a single definition section of the statute.

So long as the cash is represented to have come from any of these activities, a defendant is guilty

of the substantive offense of money laundering.” Stavroulakis, 952 F.2d at 691 (emphasis in

original). That is because, as confirmed by the legislative history, “the focal point of the statute is

the laundering process, not the underlying unlawful conduct that soiled the money.”                  Id.

Accordingly, because the specified unlawful activity underlying Aguilar’s conviction of

conspiracy to launder money is not an essential element, unanimity as to which specified unlawful

activity or activities triggered the violation of the statute was not required; unanimity that the

elements of the crime they supported were present is all that was required. 24

        Try as he might, Aguilar cannot plausibly distinguish this controlling case law. Contrary




24
    Aguilar mistakenly asserts that the Court twice relied on United States v. Liersch, No. 04-cr-
2521 (JSR), 2005 WL 6414047, at *8 (S.D. Cal. May 2, 2005) in its orders denying Aguilar’s pre-
trial motions to dismiss, for the proposition that the Court committed to giving a unanimity
instruction as to the specified unlawful activities. Def.’s Mem. at 75; Def.’s Reply at 34. But the
Court’s only mention of Liersch was in its Order denying Aguilar’s first motion to dismiss, and
the Court merely quoted Aguilar’s position in his reply brief, in which he quoted Liersch. See
United States v. Aguilar, No. 1:20-CR-390 (ENV), 2023 WL 3807383, at *2 (E.D.N.Y. May 31,
2023) (Dkt. 154) (quoting Aguilar’s argument in his reply brief in support of motion to dismiss,
which quoted Liersch). In neither opinion did the Court adopt Liersch or rely on it—in fact, the
Court did not so much as mention it in the second order Aguilar points to. Compare Def.’s Mem.
at 75–76 (arguing that the Court relied on Liersch in its September 21, 2023 Order), with
September 21, 2023 Order, Dkt. 176, at 1–11 (no mention of Liersch).
                                                  31
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to his insistence, see Def.’s Mem. at 76–77, the Second Circuit in Stavroulakis did not limit its

statutory analysis—that Section 1956 “does not penalize the underlying unlawful activity from

which the tainted money is derived”—to only money laundering conspiracies with the object of

concealing proceeds, as opposed to those promoting specified unlawful activities. Stavroulakis,

952 F.2d at 691. Second, while Aguilar is correct that the Second Circuit did not formally speak

to jury unanimity on specified unlawful activities, there is absolutely no indication that its finding

that specified unlawful activities are not elements of a money laundering conspiracy is limited in

any way. As a result, Aguilar’s jury unanimity claim is without merit, and this branch of

defendant’s motion seeking a new trial on Count Three is also denied.

                                             Conclusion

        For the foregoing reasons, Aguilar’s motion pursuant to Rule 29 and, alternatively, Rule

33, is denied in all respects.

        So Ordered.

        Dated: Brooklyn, New York
               July 26, 2024
                                                                      /s/ Eric N. Vitaliano
                                                                     ERIC N. VITALIANO
                                                                     United States District Judge




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